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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                       LONDON

                                                 )
 DAVID WILSON, as Administrator of the           )
 Estate of Lisa Noble,                           )          No. 6:17-CV-157-KKC-HAI
                                                 )
        Plaintiff,                               )
                                                 )
 v.                                              )                  ORDER
                                                 )
 BEACON TRANSPORT, LLC, and                      )
 TERRAN COOPER,                                  )
                                                 )
        Defendants.

                                          *** *** *** ***

       On August 14, 2017, Chief Judge Caldwell referred this matter to the undersigned “for

purposes of managing all discovery and pretrial scheduling issues, including resolving all

discovery disputes and revising any dates and deadlines established in the Court's Scheduling

Order.” D.E. 12 at 3. The Court HEREBY ORDERS that a teleconference SHALL occur on

Monday, December 11, 2017, at 11:00 a.m., to discuss the progress of discovery. The call will

be off the record and for counsel only.

        To join the teleconference, the parties are DIRECTED to call AT&T Teleconferencing

at 1-888-675-2535, to enter Access Code 8810053 (followed by “#”), and, when requested, enter

the Security Code 17157 (followed by “#”).

       The Clerk is DIRECTED to make the unredacted Order accessible to counsel of record

electronically, and docket ONLY the redacted Order.

       This the 15th day of June, 2017.
